

People v Parker (2022 NY Slip Op 00739)





People v Parker


2022 NY Slip Op 00739


Decided on February 03, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 03, 2022

Before: Kapnick, J.P., Mazzarelli, Gesmer, Kennedy, Pitt, JJ. 


Ind No. 2621/00 Appeal No. 15203 Case No. 2017-951 

[*1]The People of the State of New York, Respondent,
vMichael Parker, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (Steven J. Miraglia of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Amanda Katherine Regan of counsel), for respondent.



Order, Supreme Court, New York County (Daniel P. Conviser, J.), entered on or about May 24, 2016, which denied defendant's Correction Law § 168-o (2) petition to modify his sex offender classification, unanimously affirmed, without costs.
The court providently exercised its discretion in denying defendant's petition for a modification of his level three classification (see generally People v Lashway, 25 NY3d 478 [2015]). Defendant has not shown that his age and his law-abiding behavior in the eight years since his release from custody while he has continued to live in a supervised environment demonstrate a reduced risk of reoffense, when viewed in light of the many aggravating factors. Among other things, defendant committed two violent
sex crimes, the second of which he committed while he was on parole for the first and for which he has not accepted responsibility (see e.g. People v Harrison, 143 AD3d 470 [1st Dept 2016]).
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 3, 2022








